




October 9, 1998



	No. 3--97--0188



_________________________________________________________________



	IN THE



	APPELLATE COURT OF ILLINOIS



	THIRD DISTRICT



	A.D., 1998



THE PEOPLE OF THE STATE 			)	Appeal from the Circuit Court

OF ILLINOIS,					)	of the 12th Judicial Circuit,

	)	Will County, Illinois

Plaintiff-Appellee,			)	

	)

v.						)	No. 95--CF--5946

	)	

RICHMOND LEE BLANKS, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)	Honorable

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)	Amy Bertani

Defendant-Appellant.		)	Judge, Presiding

_________________________________________________________________



JUSTICE HOLDRIDGE DELIVERED THE OPINION OF THE COURT:

_________________________________________________________________



The defendant, Richmond Lee Blanks, pleaded guilty to aggra­

vat­ed criminal sexual assault (720 ILCS 5/12--14 (West 1996)) in exchange for the dismissal of another charge of aggravated criminal sexual assault and a 12-year term of imprisonment. &nbsp;He subsequently filed a post-conviction petition, which the trial court dismissed as frivolous and patently without merit. &nbsp;On appeal, the defen­dant con­tends that his sen­tence must be modified because it was imposed pursu­ant to the truth-in-sen­tencing statute and that statute is unconstitu­tional. &nbsp;For the following reasons, we find that the defendant has waived this issue on appeal and we there­fore affirm.

The record reflects that after imposing sentence, the trial court advised the defendant that the truth-in-sen­tenc­ing provi­

sions of the Unified Code of Corrections were applicable to the defendant's case. &nbsp;Therefore, it noted that the defendant would be required to serve at least 85% of his sentence. &nbsp;The defendant subsequently filed 
pro se
 motions to reduce his sentence and withdraw his guilty plea. &nbsp;The trial court dismissed both motions as untimely. &nbsp;On direct appeal, this court dismissed the defen

dant's appeal for failure to comply with Supreme Court Rule 604(d). &nbsp;
People v. Blanks,
 No. 3--96--0778 (1996) (unpublished order under Supreme Court Rule 23). 

Before this court ruled on the defendant's direct appeal, he filed a post-convic­tion peti­tion. &nbsp;In that peti­tion, he con­tended that he received inef­fec­tive assis­tance of trial counsel because counsel failed to: &nbsp;(1) advise him about the truth-in-sen­tenc­ing guide­lines for his offense; (2) advise him of his right to appeal a guilty plea; and (3) perfect his appeal by filing a proper Rule 604(d) certif­i­cate. &nbsp;The trial court dis­missed the defendant's petition as frivolous and patent­ly without merit. &nbsp;The defendant appeals from the denial of his petition.	

On appeal, the defendant now argues that the truth-in-sen­

tenc­ing statute was passed as part of Public Act 89--404 and that act violated the single subject rule of the Illinois Constitu­

tion. &nbsp;Pub. Act 89--404, eff. August&nbsp;20, 1995 (amending 730 ILCS 5/3--6--3 (West 1994)). &nbsp;Therefore, he requests that this court: &nbsp;(1) vacate the portion of his sentencing order requiring him to serve 85% of the sentence imposed; and (2) clarify that he is entitled to receive the day-for-day credit that he would have been enti­tled to under the earlier version of the law. &nbsp;See 730 ILCS 5/3--6--3 (West 1994).

In response, the State argues that the defendant has waived this issue on appeal because he did not raise it in any prior proceeding, including his post-conviction petition. &nbsp;In reply, the defendant argues that the Illinois Supreme Court has held that a challenge to the constitutionality of a statute is not subject to waiver. &nbsp;See 
People v. Bryant
, 128 Ill. 2d 448, 539 N.E.2d 1221 (1989). &nbsp;

In 
People v. Bryant
, 128 Ill. 2d 448, 539 N.E.2d 1221 (1989), the supreme court stated that a consti­tu­tional issue may be raised at any time. &nbsp;However, the appellate court distin­guished 
Bryant
 in 
People v. Starnes
, 273 Ill. App. 3d 911, 653 N.E.2d 4 (1995). &nbsp;The 
Starnes
 court held that 
Bryant
 only "pro­

hibits waiver of a challenge to the constitutionality of the statute under which a defendant is convicted." &nbsp;
Starnes
, 273 Ill. App. 3d at 913-14, 653 N.E.2d at 6. &nbsp;There­fore, the doctrine of waiver may apply to a consti­tution­al attack on a statute which is collateral, 
i.e.
, a statute which does not directly affect the defendant's conviction. &nbsp;
Starnes
, 273 Ill. App. 3d 911, 653 N.E.2d 4. 

We find that the truth-in-sentencing provisions of the Unified Code of Correc­tions are collateral to the statutes under which a defen­dant is convicted and sentenced. &nbsp;In doing so, we note that the amount of time that a defen­dant must serve in prison is deter­mined by Illinois law and applied by the Illinois Depart­ment of Correc­tions and the Illi­nois Prisoner Review Board. &nbsp;730 ILCS 5/5--4--1(c--2) (West 1996); 
People v. Pitts
, 
295 Ill. App. 3d 182, 192, 691 N.E.2d 1174, 1181 (1998) (McCullough, J., dis­sent­ing). &nbsp;
Accord­ingly, an attack 
on the constitutionality of the truth-in-sen­tencing law would be subject to waiver.

In this case, the defendant appeals from the denial of a post-convic­tion peti­tion alleg­ing inef­fec­tive assis­tance of trial counsel. &nbsp;The defendant did not argue that the truth-in-sentenc­ing law was unconstitu­tional in his post-convic­tion peti­tion. &nbsp;Therefore, he has waived this issue and we shall not address it.

Accordingly, the judgment of the circuit court of Will County is af­firmed.

Affirmed.

SLATER, J., concurs; &nbsp;LYTTON, J., dissents.



________________________________________________________________

JUSTICE LYTTON dissenting:



I respectfully dissent. &nbsp;Adhering to the views expressed in my dissent in 
People v. Watford
, 294 Ill. App. 3d 462, 465-66, 690 N.E.2d 1009, 1012 (1997) (Lytton, J., dissenting), I believe that the interests of justice would be served by a prompt and conclusive determination of the constitutional issue presented in this case. 


